Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 1 of 113
                                   IN THE UNITED STATES DISTRICT COURT FOR
                                       THE SOUTHERN DISTRICT OF FLORIDA
                                                MIAMI DIVISION


    JENNIFER CASTILLO AND ALAIN
    SANCHEZ,

               Plaintiffs,

    v.

    GEOVERA SPECIALTY INSURANCE
    COMPANY,

          Defendant.
    _______________________________/

                                                       NOTICE OF REMOVAL

             PLEASE TAKE NOTICE, that Defendant, GEOVERA SPECIALTY INSURANCE

  COMPANY, a Delaware corporation, hereby files, pursuant to 28 U.S.C.§ § 1441 and 1446, this

  Notice of Removal of this civil action to the UNITED STATES DISTRICT COURT for the South-

  ern District of Florida from the Circuit Court of the Eleventh Judicial Circuit in and for Miami-

  Dade County, Florida. Removal is made pursuant to 28 U.S.C.§ 1332(a) on the basis of diversity

  of citizenship. The grounds for removal are stated as follows:

                                     INTRODUCTION/FACTUAL BACKGROUND

             1.          On or about October 23, 2020, Plaintiffs Jenifer Castillo & Alain Sanchez filed the

  instant lawsuit in the Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade County,

  Florida, styled Jenifer Castillo & Alain Sanchez v. Geovera Specialty Insurance Company, Case

  No. 2020-022950-CA-01 (hereinafter “State Court Action”). A copy of the complaint is attached

  hereto as Exhibit “A.”

             2.          Defendant, Geovera Specialty Insurance Company (“Geovera”), is a Delaware

  corporation. Therefore, Geovera is a citizen of the State of Delaware.

                                                             «FIRM_NAME_LINE_1»
COLE, SCOTT & KISSANE BUILDING - 9150 SOUTH DADELAND BOULEVARD - SUITE 1400 - P.O. BOX 569015 - MIAMI, FLORIDA 33256 - (305) 350-5300 - (305) 373-2294 FAX
Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 2 of 113
        3.     In the Complaint, Plaintiff alleges that Geovera breached a homeowner’s insurance

  policy, by failing to make certain payments allegedly due and owing under the policy.

             4.     Although not specifically alleged in their Complaint, Plaintiff has submitted an es-

  timate totaling $61,416.83. The estimate is attached hereto as Exhibit “B.” Plaintiffs are seeking

  $100,000.00 inclusive of attorney’s fees and costs at this time under Florida Statute § 627.428.

  Correspondence dated December 14, 2020, is attached hereto as Exhibit “C.”1

             5.     Based upon the allegations in the complaint, as well as the additional materials and

  estimate submitted to Geovera by Plaintiffs and/or their representatives, the amount in controversy

  exceeds the sum of $75,000.00.

             6.     While GeoVera was served with a copy of the Complaint on November 2, 2020,

  counsel for the undersigned provided an estimate/informal settlement demand on December 14,

  2020. Affidavit of Corporate Representative is attached hereto as Exhibit “D.” Therefore, this

  Notice of Removal is being filed within thirty days of receipt by Geovera of information from

  which it could first ascertain that the case is removable. 28 U.S.C. § 1446(b).

                                         GROUNDS FOR REMOVAL

             8.     This Court has removal jurisdiction over Plaintiffs’ claims under 28 U.S.C.§ 1332,

  as the matter in controversy exceeds the sum of $75,000, and complete diversity exist between the

  parties.

             9.     “When a plaintiff files in state court a civil action over with the federal district

  courts would have original jurisdiction based on diversity of citizenship, the Defendant may re-

  move the action to federal court.” Caterpiller, Inc. v. Williams, 519 U.S. 61, 68 (1996).

             10.    In 2011, Congress passed the Federal Courts Jurisdiction and Venue Clarification

  Act (“JVCA”), which “clarifies the procedure in order when a defendant’s assertion of the amount




  1 Defendant disputes any entitled to fee’s under Florida Statute § 627.428 as Defendant is a surplus line insurer and
  not subject to Fla. Stat. 627.428.

                                                           2
Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 3 of 113
  in controversy is challenged.” Dart Cherokee Basin Operating Co., LLC v. Owens, 135 S.Ct. 547,

  554 (2014). As a general rule under the JVCA, when removal is based upon diversity of citizenship

  jurisdiction, “the sum demanded in good faith in the initial pleading shall be deemed to be the

  amount in controversy.” 28 U.S.C. § 1446(c)(2). However, as an exception to the rule, notices of

  removal may assert the amount in controversy of the initial pleadings seeks a money judgment,

  “but the State practice either does not permit demand for a specific sum or permits recovery of

  damages in excess of the amount demanded” and “the district court finds, by the preponderance of

  the evidence, that the amount in controversy exceeds the amount specified in section 1332(a).” Id.

  §§ 1446(c)(2)(A), (B).

         11.     Notices of removal must plausibly allege the jurisdictional amount under 28 U.S.C.

  § 1332, not prove the amount. Dart, 135 S. Ct. at 554.

         12.     Diversity of citizenship jurisdiction exists in this case because: (1) the parties are

  completely diverse; (2) upon information and belief, Plaintiffs are citizens of the State of Florida;

  (3) Geovera is a citizen of the State of Delaware; and (4) the amount in controversy exceeds

  $75,000.

         13.     Additionally, Defendant’s principal place of business is in Delaware. Bel-Bell In-

  tern Corp., v. Community Bank of Homestead, 162 F. 3d 1101 (11th Cir. 1998). Whereas Plaintiff

  alleges that its principal address is 11521 NW 87th Pl, Hialeah, FL 33018. See Paragraph 2 of

  Plaintiff’s Complaint.

         14.     In addition, although Plaintiffs’ Complaint does not demand any particular sum,

  and Florida practice permits recovery in excess of the amount demanded in the Complaint. As

  noted above, Plaintiffs have submitted an estimate in the amount of $61,416.83, provided a meand

  of $100,000.00, and allege entitlement to “damages, costs, prejudgment interest, and attorney’s

  fees pursuant to Florida Statute section. §627.428(1).” [Ex. A.].




                                                   3
Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 4 of 113
        15.    Furthermore, Plaintiffs also seek to recover attorney’s fees under Florida Statute §

  627.428. Notwithstanding, Plaintiff’s convention regarding entitlement, notably, the Eleventh Cir-

  cuit has stated that “[w]hen a statute authorizes the recovery of attorney’s fees, a reasonable

  amount of those fees is included in the amount in controversy.” Morrison v. Allstate Indemnity

  Co., 228 F.3d 1255, 1265 (11th Cir. 2000); see Lutz v. Protective Life Ins. Co., 328 F. Supp. 2d

  1350, 1356 (S.D. Fla. 2004)(providing that “[i]t seems likely that a ‘reasonable amount’ would

  include more than just those fees induced before removal”).

         16.     This Court encountered a similar factual scenario in Katchmore Luhrs, LLC v. Al-

  lianz Global & Corporate Specialty, 2016 U.S. LEXIS 58616, Case No. 15-23420 (S.D. Fla. May

  3, 2016), wherein the Court stated as follows:

         In ascertaining whether a complaint's allegations support removal, the Court may
         make "reasonable deductions" and use "common sense" to determine if removal is
         proper. Roe v. Michelin N. Am., Inc., 613 F.3d 1058, 1061 (11th Cir. 2010) ("Put
         simply, a district court need not suspend reality or shelve common sense in deter-
         mining whether the face of a complaint establishes the jurisdictional amount") (in-
         ternal quotations omitted). See also Williams v. Best Buy Co., Inc., 269 F.3d 1316,
         1319 (11th Cir. 2001) (allowing district courts to consider whether it is "facially
         apparent" from a complaint that the amount in controversy is met). "[C]ourts may
         use their judicial experience and common sense in determining whether the case
         stated in a complaint meets federal jurisdictional requirements." Roe, 613 F.3d at
         1061.
         Id.at *7-8.

         17.     In applying these principles, the Court concluded that any reasonable attorney’s fee

  award would “easily exceed” the amount necessary to satisfy the amount in controversy require-

  ment. Id.

         18.     Likewise, in the instant matter, any reasonable attorney’s fee award would “easily

  exceed” the amount necessary to surpass the $75,000 jurisdictional threshold. Moreover, the

  amount currently being demanded for attorney’s fees and costs when added to the estimate com-

  fortably surpasses this threshold.

         19.     Indeed, in similar cases involving insurance coverage disputes, Florida courts have

  awarded reasonable attorney’s fees under Section 627.428 that exceed six figures even when the


                                                   4
Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 5 of 113
  amount in controversy is relatively minimal. See e.g. Fla. Peninsula v. Wagner, 2D15-1152 (Fla.

  2d DCA June 1, 2016)(reversing the trial court’s award of a multiplier applied to a lodestar amount

  of $243,755 despite a verdict for damages under the policy in the amount of $71,123.79).

          20.     Regardless, as stated above Plaintiffs have submitted a demand in the amount of

  $100,000.00 inclusive of attorney’s fees and costs.

          21.     The subject property is located at 11521 NW 87th Pl, Hialeah, FL 33018, which is

  within the jurisdiction of the United States District Court for the Southern District of Florida. Ac-

  cordingly, the District Court for the Southern District of Florida is the proper venue for this action

  pursuant to 28 U.S.C.§ 1391.

                            REMOVAL IS PROCEDURALLY PROPER

          22.     Pursuant to 28 U.S.C. § 1446(a) and Local Rule 4.02, removal to the United States

  District Court for the Southern District of Florida is proper because this is the federal district court

  for the district and division embracing the place where the state court suit is pending.

          23.     As required by 28 U.S.C. § 1446(a), true and correct copies of all process, pleadings

  and orders served upon Geovera are being filed with this Notice of Removal.

          24.     Pursuant to 28 U.S.C. § 1446(d), written notice of the filing of this Notice of Re-

  moval will be given to Plaintiffs, and a copy of this Notice of Removal will be filed with the clerk

  of the Circuit Court of the Eleventh Judicial Circuit, in and for Miami Dade County, Florida, to

  affect the removal of this civil action.

          25.     In filing this Notice of Removal, Geovera reserves any and all defenses, objections,

  and exceptions, including without limitation those relating to Plaintiffs’ standing, Plaintiffs’ failure

  to state a claim upon which relief can be granted, jurisdiction, venue and statutes of limitations.

          WHEREFORE, Defendant GEOVERA SPECIALTY INSURANCE COMPANY, re-

  spectfully requests that the above action, captioned as Jennifer Castillo & Alain Sanchez v. Geo-

  vera Specialty Insurance Company, 11th Judicial Circuit Court, Miami-Dade County, Case No.

  2020-022950-CA-01, be removed to this Court.

                                                     5
Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 6 of 113
  Respectfully submitted,

  By:s/ Haley L. Dison
  George A. Hooker, Esquire
  Fla. Bar No.: 88276
  Robert K. Guinn, Esquire
  Fla. Bar No.: 85937
  Haley L. Dison
  Florida Bar No.: 1018529
  Cole, Scott & Kissane, P.A.
  9150 South Dadeland Boulevard
  Suite 1400
  Miami, Florida 33156
  Telephone: (786) 268-6807
  Facsimile: (305) 373-2294




                                       6
Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 7 of 113




          IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                  IN AND FOR MIAMI-DADE COUNTY, FLORIDA
                           CIRCUIT CIVIL DIVISION

                                                                           CASE NO.: 2020-022950-CA-01


  JENNIFER CASTILLO & ALAIN SANCHEZ,
  Plaintiffs,

  V.


  GEO VERA SPECIALTY INSURANCE COMPANY,
  Defendant.


                                              COMPLAINT

  COME NOW, the Plaintiffs, JENNIFER CASTILLO & ALATh1 SANCHEZ ("Plaintiffs"), by

  and through undersigned counsel, hereby sues the Defendant, GEOVERA SPECIALTY

  INSURANCE COMPANY ("Defendant"), and alleges as follows:

                           PARTIES, JURISDICTION AND VENUE

  1)    This is an action for damages greater than the sum of THIRTY THOUSAND DOLLARS
        ($30,000.00), exclusive of interest, costs, and attorney's fees, and otherwise within the
        jurisdictional limits of this Court.

  2)    At all times material hereto, Plaintiffs own property insured by Defendant, located at 11521
        NW 87' P1, Hialeah, FL 33018 (the "Property") and are residents of Miami-Dade County,
        Florida.

  3)    At all times material hereto, Defendant was and is an insurance corporation doing and/or
        transacting business in the County of this Court.

  4)    At all times material hereto, Defendant is a Florida corporation, organized and existing
        under the laws of Florida, qualified to do business in Florida, and conducting business in
        Miami-Dade County, Florida.

  5)    Venue is proper in Miami-Dade County, Florida because the contract, which forms the
        subject matter of this lawsuit, was executed in Miami-Dade County, Florida. Furthermore,
        the Property, which is the subject matter of this lawsuit, is located in Miami-Dade County,
        Florida.


                                            BUCELO LAW GROUP
                      6303 Blue Lagoon Drive, Suite 390 Miami, FL 33 126 Tel: (305) 442-1942


                                                                                               Exhibit A
Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 8 of 113




                                    GENERAL ALLEGATIONS

     6)    At all times material hereto, for valuable consideration of a premium paid by the
           Plaintiffs, there was a valid insurance policy issued by Defendant, identified as policy
           number GC500 15540 (the "Policy"). Plaintiffs will obtain a copy of the Policy from
           Defendant through the discovery process and such policy will be filed in support of this
           action at that time. See Equity Premium, Inc v Twin City Fire Ins. Co., 956 So. 2d 1257
           (Fla. 4th DCA 2007).

     7)    Plaintiffs paid all insurance premiums due and owing under the Policy at all relevant
           times herein.

     8)    By issuing the Policy, Defendant agreed to provide insurance coverage to the Property
           for certain property loss.

     9)    On or about September 10, 2017, while the Policy was in full force and effect,
           Hurricane Irma's intense wind and rain caused direct and physical damages to the
           Property, including the roof, exterior, interior, and personal property (the "Loss").

     10)   Defendant was given timely notice of the Loss, assigned claim number
           1724214342, and assigned an insurance adjuster to investigate the damages.

     11)   Plaintiff protected the Property from further damage and made the Property available
           for inspection.

     12)   Defendant failed to provide coverage or deny the Loss within ninety (90) days after
           receiving notice.

     13)   Defendant failed to fully pay for Plaintiff's damages that are covered under the
           Policy.

     14)   Plaintiff performed all post-loss obligations and conditions precedent to the filing of
           this lawsuit having occurred, been met, performed, or waived by Defendant.

                                     BREACH OF CONTRACT

     15)   Plaintiffs incorporates by reference paragraphs 1 through 14 of this Complaint.

     16)   Under the terms of the Policy, Defendant is liable to Plaintiffs for the total amount
           (within the policy limits) of the Loss, less any applicable deductible.

     17)   The Plaintiffs sustained unpaid damages for a covered loss under Defendant's policy of
           insurance.

     18)   The Defendant refuses to honor its contractual obligations and pay for the covered loss.


                                            BUCELO LAW GROUP
                      6303 Blue Lagoon Drive, Suite 390 Miami, FL 33 126 Tel: (305) 442-1942
Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 9 of 113




     19)     That Plaintiffs has further had to retain the undersigned attorney and agreed to pay a
             reasonable fee for which the Defendant is liable under Fla. Stat. section 627.428(1),
             which reads, in relevant part:


               Upon the rendition of a judgment or decree by any of the
               courts of this state against an insurer and in favor of any
               named or omnibus insured or the named beneficiary under a
               policy or contract executed by the insurer, the trial court or,
               in the event of an appeal in which the insured or beneficiary
               prevails, the appellate court shall adjudge or decree against
               the insurer and in favor of the insured or beneficiary a
               reasonable sum as fees or compensation for the insured's or
               beneficiary's attorney prosecuting the suit in which the
               recovery is had.


         WHEREFORE, Plaintiffs demand judgment against Defendant for damages, costs,
  prejudgment interest, and attorney's fees pursuant to Florida Statute section 627.428(1).

                                     DEMAND FOR JURY TRIAL

         Plaintiffs demand a trial by jury upon all issues and all counts of the Complaint triable as
  a matter of right.

  DATED this October 23, 2020

                                                               Respectfully submitted,

                                                               BUCELO LAW GROUP
                                                               A ttorneys for Plaintiffs
                                                               6303 Blue Lagoon Drive
                                                               Suite 390
                                                               Miami, FL 33126
                                                               Phone: (305) 442-1942
                                                               Email: alb@bucelolawgroup.com

                                                               By: /s/Alexander L. Bucelo
                                                               Alexander L. Bucelo, Esq.
                                                               Florida Bar No.: 1008053




                                              BUCELO LAW GROUP
                        6303 Blue Lagoon Drive, Suite 390 Miami, FL 33 126 Tel: (305) 442-1942
1
      Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 10 of 113

                 FIVE STAR CLAIMS ADJUSTING
                 1640 WEST OAKLAND PARK BLVD
                 SUITE 202
                 FORT LAUDERDALE, FL 33311

           Insured:    ALAIN SANCHEZ & JENNIFER CASTILLO
          Property:    11521 NORTHWEST 87TH PLACE
                       HIALEAH GARDENS, FL 33018


         Estimator:    GIL MARTIN


    Claim Number: 1724214342                 Policy Number: GC50015540               Type of Loss: Hurricane Irma

     Date of Loss:     9/10/2017 12:00 AM                Date Received:
    Date Inspected:                                       Date Entered:   6/29/2020 12:00 AM

         Price List:   FLMI8X_JUN20
                       Restoration/Service/Remodel
         Estimate:     SANCHEZ&CASTILLO




                                                                                                  Exhibit B
2
          Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 11 of 113

                                 FIVE STAR CLAIMS ADJUSTING
                                 1640 WEST OAKLAND PARK BLVD
                                 SUITE 202
                                 FORT LAUDERDALE, FL 33311

                                                                       SANCHEZ&CASTILLO

                                                    Main Level

     DESCRIPTION                                            QUANTITY UNIT PRICE            TAX       O&P          RCV        DEPREC.             ACV
     1. Dumpster load - Approx. 40 yards, 7-8         1.00 EA         713.00                0.00    213.90      926.90           (0.00)        926.90
     tons of debris
     2. R&R Sheathing - plywood - 3/4" CDX          190.00 SF           2.74               13.43    160.22      694.25           (0.00)        694.25
     Above line item to be placed under dumpster as to not damage driveway
     3. Residential Supervision / Project            32.00 HR          62.50                0.00    600.00     2,600.00          (0.00)       2,600.00
     Management - per hour
     4. Architectural/Drafting fees (Bid Item)        1.00 EA       2,000.00                0.00    600.00     2,600.00          (0.00)       2,600.00
     5. Taxes, insurance, permits & fees (Bid         1.00 EA         944.42                0.00    283.32     1,227.74          (0.00)       1,227.74
     Item)

     Totals: Main Level                                                                    13.43   1,857.44    8,048.89               0.00    8,048.89



                                                                                 Roof

                          26'
                                                    Roof1
                                          25' 10"
                                           24' 6"




                      F1 (A)                                     1393.47 Surface Area                          13.93 Number of Squares
                                                                  163.30 Total Perimeter Length                30.00 Total Ridge Length
              49'




                      Roof1
                                   19' 6"
                                25' 10"




                                                                   17.42 Total Hip Length
                                 24' 6"
                                16' 5"




                    F2 (B)
                                 8'
                                     9"




                          Roof2
                           F3 F4  (1)
                              (A)(B)
                                          4'
                                8'




                    14'     F5 (C)
                                 9"




                                12'

     DESCRIPTION                                            QUANTITY UNIT PRICE            TAX       O&P          RCV        DEPREC.             ACV
     6. Remove Patio Cover - Roof panels only - 300.00 SF                       0.68        0.00     61.20      265.20           (0.00)        265.20
     No load
     7. Install Patio Cover - Roof panels only -   300.00 SF                    2.24        0.00    201.60      873.60           (0.00)        873.60
     No load
     8. Remove Tile roofing - Clay - Barrel         12.80 SQ                  198.23        0.00    761.20     3,298.54          (0.00)       3,298.54
     (mission) tile
     9. Tile roofing - Clay - Barrel (mission)      14.72 SQ                  962.44      315.43   4,344.76   18,827.31          (0.00)      18,827.31
     tile
     10. Remove Roll roofing - hot mop              12.80 SQ                   71.19        0.00    273.36     1,184.59          (0.00)       1,184.59
     application
     11. Roll roofing - hot mop application         12.80 SQ                  224.68       61.74    881.30     3,818.94          (0.00)       3,818.94
     12. R&R Sheathing - plywood - 1/2" CDX        400.00 SF                    2.15       19.32    263.80     1,143.12          (0.00)       1,143.12
     13. Re-nailing of roof sheathing - complete 1,280.00 SF                    0.39        1.79    150.30       651.29          (0.00)         651.29
     re-nail
     14. R&R Ridge / Hip / Rake cap - tile         139.00 LF                   21.18       67.53    903.46     3,915.01          (0.00)       3,915.01
     roofing
     15. R&R Drip edge                             154.00 LF                    3.77        8.84    176.84      766.26           (0.00)        766.26
     16. R&R Valley metal                           16.00 LF                    8.45        2.27     41.24      178.71           (0.00)        178.71
     17. R&R Fascia - 1" x 4" - #1 pine            154.00 LF                    4.19       13.04    197.50      855.80           (0.00)        855.80

    SANCHEZ&CASTILLO                                                                                                      6/29/2020              Page: 2
3
          Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 12 of 113

                                           FIVE STAR CLAIMS ADJUSTING
                                           1640 WEST OAKLAND PARK BLVD
                                           SUITE 202
                                           FORT LAUDERDALE, FL 33311



                                                                                                CONTINUED - Roof1



     DESCRIPTION                                                             QUANTITY UNIT PRICE                    TAX        O&P         RCV        DEPREC.             ACV
     18. Prime & paint exterior fascia - wood,                                  154.00 LF               1.60         1.72     74.44      322.56           (0.00)         322.56
     4"- 6" wide
     19. Bird stop - Eave closure strip for tile                                154.00 LF               4.82        16.92    227.76      986.96           (0.00)         986.96
     roofing - metal
     20. R&R Flashing - pipe jack                                                    3.00 EA           70.99         2.42     64.62      280.01           (0.00)         280.01
     21. Stucco / Ext. Plaster Repair - Min.                                         1.00 EA          244.38         1.22     73.68      319.28           (0.00)         319.28
     Charge - Lab. and Mat.
     22. Clean with pressure/chemical spray                                   1,540.00 SF               0.27         1.08    125.06       541.94          (0.00)         541.94
     23. Exterior - seal or prime then paint with                             1,540.00 SF               1.49        48.51    702.94     3,046.05          (0.00)       3,046.05
     two finish coats
     24. Final cleaning - construction -                                      1,540.00 SF               0.19         0.00     87.78      380.38           (0.00)         380.38
     Residential

     Totals: Roof1                                                                                                 561.83   9,612.84   41,655.55               0.00   41,655.55

     Total: Roof                                                                                                   561.83   9,612.84   41,655.55               0.00   41,655.55



                                                                                                        Interior

                1' 4"                      2' 6"                       Entry/Foyer                                                                                    Height: 8'
                 1' 3" 5'              2' 4"    9"

                                                                                       423.24   SF Walls                               237.85 SF Ceiling
                                                11' 10"
                                                          12'




                                                                                       661.09   SF Walls & Ceiling                     237.85 SF Floor
               20' 3"
                        19' 9"




                            Entry/Foyer
                                                                                        26.43   SY Flooring                             51.82 LF Floor Perimeter
                                                1'
                                                          3' 6"




                                                Hallway                                 58.32   LF Ceil. Perimeter
                                                2' 4"




                                 8'        3'


     Missing Wall - Goes to Floor                                                        3' X 6' 8"                         Opens into LIVING_ROOM
     Missing Wall - Goes to Floor                                                        3' 6" X 6' 8"                      Opens into HALLWAY
                          Living Room

                                                                       Subroom: Bay (1)                                                                               Height: 8'
             5" 2' 10"                           9"                                     61.74   SF Walls                                 7.49 SF Ceiling
          6"




                                                           9" 1




                                                                                        69.23   SF Walls & Ceiling                       7.49 SF Floor
                        "




                                                7"
                1' 3




                                                                  0"
        7"




                                                                                         0.83   SY Flooring                              7.72 LF Floor Perimeter
                                                  8"
             9"




                                      5'                                                 7.72   LF Ceil. Perimeter


     Missing Wall                                                                        5' 1/2" X 8'                       Opens into ENTRY_FOYER

     DESCRIPTION                                                             QUANTITY UNIT PRICE                    TAX       O&P          RCV        DEPREC.             ACV
     25. Contents - move out then reset                                              1.00 EA           44.68         0.00     13.40       58.08           (0.00)          58.08
    SANCHEZ&CASTILLO                                                                                                                               6/29/2020               Page: 3




                                               Entry/Foyer
4
                  Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 13 of 113

                                                FIVE STAR CLAIMS ADJUSTING
                                                1640 WEST OAKLAND PARK BLVD
                                                SUITE 202
                                                FORT LAUDERDALE, FL 33311



                                                                                    CONTINUED - Entry/Foyer



           DESCRIPTION                                                  QUANTITY UNIT PRICE               TAX          O&P        RCV        DEPREC.             ACV
           26. Floor protection - heavy paper and tape                      245.34 SF          0.31           1.03     23.12    100.21           (0.00)         100.21
           27. Mask and prep for paint - plastic,                            66.04 LF          1.32           1.20     26.52    114.89           (0.00)         114.89
           paper, tape (per LF)
           28. Window blind - horizontal or vertical -                        1.00 EA         32.93           0.00      9.88     42.81           (0.00)          42.81
           Detach & reset
           29. Outlet or switch - Detach & reset                              4.00 EA         14.14           0.00     16.96     73.52           (0.00)          73.52
           30. Light fixture - Detach & reset                                 1.00 EA         39.41           0.00     11.82     51.23           (0.00)          51.23
           31. Heat/AC register - Mechanically                                1.00 EA         13.13           0.00      3.94     17.07           (0.00)          17.07
           attached - Detach & reset
           32. R&R Casing - 3 1/4"                                           18.00 LF          3.36           2.47     18.88     81.83           (0.00)          81.83
           33. Drywall Repair - Minimum Charge -                              1.00 EA        451.93           1.04    135.90    588.87           (0.00)         588.87
           Labor and Material
           34. Texture drywall - smooth / skim coat                         200.00 SF          1.38           1.82     83.34    361.16           (0.00)         361.16
           35. Paint door/window trim & jamb - 1                              2.00 EA         20.12           0.48     12.22     52.94           (0.00)          52.94
           coat (per side)
           36. Apply anti-microbial agent to the walls                      484.98 SF          0.26           1.36     38.22    165.67           (0.00)         165.67
           37. Paint the walls - two coats                                  484.98 SF          0.94           8.49    139.30    603.67           (0.00)         603.67
           38. Seal the walls w/latex based stain                           484.98 SF          0.78           4.41    114.80    497.49           (0.00)         497.49
           blocker - two coats
           39. General clean - up                                             1.00 HR         32.49           0.00      9.74     42.23           (0.00)          42.23

           Totals: Entry/Foyer                                                                            22.30       658.04   2,851.67               0.00    2,851.67




    Entry/Foyer                                                   Hallway                                                                                    Height: 8'
                         3" 2' 6" 7"
                                                    2' 6" 6"
                                        3' 6" 10"
                     1'




                                            3"
                                                                                128.67   SF Walls                              19.50 SF Ceiling
                                                    3' 6"
                                            3' 2"




                             Hallway                                            148.17   SF Walls & Ceiling                    19.50 SF Floor
                                 3' 10"


                                                    1' 2" 2' 6"
                                                         4' 2"




                                                                                  2.17   SY Flooring                           15.50 LF Floor Perimeter
                              2' 2"
                     2' 4"



                             10"




                                                                                 19.00   LF Ceil. Perimeter


           Missing Wall - Goes to Floor                                            3' 6" X 6' 8"                     Opens into ENTRY_FOYER

           DESCRIPTION                                                  QUANTITY UNIT PRICE               TAX          O&P        RCV        DEPREC.             ACV
            40. Contents - move out then reset                                1.00 EA         44.68           0.00     13.40     58.08           (0.00)          58.08
            41. Floor protection - heavy paper and tape                      19.50 SF          0.31           0.08      1.84      7.97           (0.00)           7.97
            42. Mask and prep for paint - plastic,
    Living Room                                                              19.00 LF          1.32           0.35      7.62     33.05           (0.00)          33.05
            paper, tape (per LF)
            43. Paint door/window trim & jamb - 1                             3.00 EA         20.12           0.72     18.32     79.40           (0.00)          79.40
            coat (per side)
            44. Apply anti-microbial agent to the walls                     128.67 SF          0.26           0.36     10.14     43.95           (0.00)          43.95
       SANCHEZ&CASTILLO                                                                                                                   6/29/2020               Page: 4
5
          Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 14 of 113

                               FIVE STAR CLAIMS ADJUSTING
                               1640 WEST OAKLAND PARK BLVD
                               SUITE 202
                               FORT LAUDERDALE, FL 33311



                                                                          CONTINUED - Hallway



     DESCRIPTION                                            QUANTITY UNIT PRICE               TAX           O&P         RCV        DEPREC.             ACV
     45. Paint the walls - two coats                          128.67 SF              0.94         2.25     36.96      160.16           (0.00)         160.16
     46. Seal the walls w/latex based stain                   128.67 SF              0.78         1.17     30.46      131.99           (0.00)         131.99
     blocker - two coats
     47. General clean - up                                     1.00 HR             32.49         0.00      9.74       42.23           (0.00)          42.23

     Totals: Hallway                                                                              4.93    128.48      556.83                0.00      556.83

                 Entry/Foyer

                                Hallway
                    8'       3' 1'
                                                      Living Room                                                                                  Height: 8'
                                            10' 10"
                                              11'




                                                                    530.67   SF Walls                               269.00 SF Ceiling
                                         17' 4"
                                         17' 2"
              22' 11"
               22' 5"




                                     2' 6"




                Living Room
                                                                    799.67   SF Walls & Ceiling                     269.00 SF Floor
                                                                     29.89   SY Flooring                             65.83 LF Floor Perimeter
                               9' 1"



                               9' 5"
                           2' 9"
                           3' 1"




                2' 6" 7'                                             68.83   LF Ceil. Perimeter
               2' 10"



     Missing Wall - Goes to Floor                                     3' X 6' 8"                         Opens into ENTRY_FOYER

     DESCRIPTION                                            QUANTITY UNIT PRICE               TAX          O&P          RCV        DEPREC.             ACV
     48. Contents - move out then reset                         1.00 EA             44.68         0.00     13.40       58.08           (0.00)          58.08
     49. Floor protection - heavy paper and tape              269.00 SF              0.31         1.13     25.36      109.88           (0.00)         109.88
     50. Mask and prep for paint - plastic,                    68.83 LF              1.32         1.25     27.64      119.75           (0.00)         119.75
     paper, tape (per LF)
     51. Outlet or switch - Detach & reset                      6.00 EA             14.14         0.00     25.46      110.30           (0.00)         110.30
     52. Light fixture - Detach & reset                         2.00 EA             39.41         0.00     23.64      102.46           (0.00)         102.46
     53. Smoke detector - Detach & reset                        1.00 EA             38.17         0.00     11.46       49.63           (0.00)          49.63
     54. Heat/AC register - Mechanically                        2.00 EA             13.13         0.00      7.88       34.14           (0.00)          34.14
     attached - Detach & reset
     55. Drywall Repair - Minimum Charge -                      1.00 EA            451.93         1.04    135.90      588.87           (0.00)         588.87
     Labor and Material
     56. Texture drywall - smooth / skim coat                 150.00 SF              1.38         1.37     62.52      270.89           (0.00)         270.89
     57. Paint door/window trim & jamb - 1                      2.00 EA             20.12         0.48     12.22       52.94           (0.00)          52.94
     coat (per side)
     58. Apply anti-microbial agent to the walls              530.67 SF              0.26         1.49     41.84      181.30           (0.00)         181.30
     59. Paint the walls - two coats                          530.67 SF              0.94         9.29    152.42      660.54           (0.00)         660.54
     60. Seal the walls w/latex based stain                   530.67 SF              0.78         4.83    125.62      544.37           (0.00)         544.37
     blocker - two coats
     61. General clean - up                                     1.00 HR             32.49         0.00      9.74       42.23           (0.00)          42.23

     Totals: Living Room                                                                      20.88       675.10     2,925.38               0.00    2,925.38

     Total: Interior                                                                          48.11      1,461.62    6,333.88               0.00    6,333.88
    SANCHEZ&CASTILLO                                                                                                            6/29/2020               Page: 5
6
          Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 15 of 113

                       FIVE STAR CLAIMS ADJUSTING
                       1640 WEST OAKLAND PARK BLVD
                       SUITE 202
                       FORT LAUDERDALE, FL 33311


                                        Dust Control

     DESCRIPTION                                 QUANTITY UNIT PRICE    TAX      O&P        RCV        DEPREC.            ACV
     62. Negative air fan/Air scrubber (24 hr        6.00 DA    70.00    0.00   126.00    546.00           (0.00)       546.00
     period) - No monit.
     63. Add for HEPA filter (for negative air       2.00 EA   188.77   24.50   120.62    522.66           (0.00)       522.66
     exhaust fan)
     64. Equipment setup, take down, and             1.00 HR    55.84    0.00    16.76     72.60           (0.00)        72.60
     monitoring (hourly charge)
     65. Eye protection - plastic goggles -          5.00 EA     8.73    3.06    14.02     60.73           (0.00)        60.73
     Disposable
     66. Containment Barrier/Airlock/Decon.        500.00 SF     0.92    2.80   138.84    601.64           (0.00)       601.64
     Chamber
     67. Containment Barrier - tension post -        6.00 DA     3.30    0.00     5.94     25.74           (0.00)        25.74
     per day
     68. Peel & seal zipper                          2.00 EA    13.37    1.30     8.42     36.46           (0.00)        36.46
     69. Cleaning - Labor Minimum                    1.00 EA    81.21    0.00    24.36    105.57           (0.00)       105.57

     Totals: Dust Control                                               31.66   454.96   1,971.40               0.00   1,971.40




                                        Packout

     DESCRIPTION                                 QUANTITY UNIT PRICE    TAX      O&P        RCV        DEPREC.            ACV
     70. On-Site Inventory, Packing, Boxing,         6.00 HR    32.48    5.07    58.46    258.41           (0.00)       258.41
     Moving chrg - per hour
     71. Contents Evaluation and/or                  6.00 HR    58.08    0.00   104.54    453.02           (0.00)       453.02
     Supervisor/Admin - per hour
     72. Moving van (16'-20') and equipment -        1.00 EA   148.83    0.00    44.64    193.47           (0.00)       193.47
     per day
     73. Off-site storage & insur. - climate       500.00 SF     1.85   24.05   277.50   1,226.55          (0.00)      1,226.55
     controlled - per month
     74. Bubble Wrap - Add-on cost for fragile     800.00 LF     0.22   12.32    56.50    244.82           (0.00)       244.82
     items
     75. Provide box & tape - large size            20.00 EA     3.76    1.95    22.56     99.71           (0.00)        99.71
     76. Provide box & tape - medium size           15.00 EA     2.83    1.11    12.74     56.30           (0.00)        56.30
     77. Provide furniture lightweight               6.00 EA     7.06    2.97    13.60     58.93           (0.00)        58.93
     blanket/pad
     78. Haul debris - per pickup truck load -       1.00 EA   154.66    0.00    46.40    201.06           (0.00)       201.06
     including dump fees

     Totals: Packout                                                    47.47   636.94   2,792.27               0.00   2,792.27



     Labor Minimums Applied

     DESCRIPTION                                 QUANTITY UNIT PRICE    TAX      O&P        RCV        DEPREC.            ACV
     79. Window treatment repair                     1.00 EA   117.28    0.00    35.18    152.46           (0.00)       152.46

    SANCHEZ&CASTILLO                                                                                6/29/2020             Page: 6
7
          Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 16 of 113

                      FIVE STAR CLAIMS ADJUSTING
                      1640 WEST OAKLAND PARK BLVD
                      SUITE 202
                      FORT LAUDERDALE, FL 33311



                                                    CONTINUED - Labor Minimums Applied



     DESCRIPTION                                 QUANTITY UNIT PRICE            TAX         O&P         RCV        DEPREC.             ACV
     80. Heat, vent, & air cond. labor minimum      1.00 EA       199.00         0.00      59.70      258.70           (0.00)        258.70
     81. Finish carpentry labor minimum             1.00 EA       156.68         0.00      47.00      203.68           (0.00)        203.68

     Totals: Labor Minimums Applied                                              0.00     141.88      614.84                0.00     614.84

     Line Item Totals: SANCHEZ&CASTILLO                                        702.50   14,165.68   61,416.83               0.00   61,416.83



     Grand Total Areas:
          1,144.31 SF Walls                             533.84 SF Ceiling                    1,678.15 SF Walls and Ceiling
            533.84 SF Floor                              59.32 SY Flooring                     140.87 LF Floor Perimeter
              0.00 SF Long Wall                           0.00 SF Short Wall                   153.87 LF Ceil. Perimeter

            533.84 Floor Area                           579.86 Total Area                    1,144.31 Interior Wall Area
          1,510.94 Exterior Wall Area                   120.87 Exterior Perimeter of
                                                               Walls

          1,393.47 Surface Area                          13.93 Number of Squares               163.30 Total Perimeter Length
             30.00 Total Ridge Length                    17.42 Total Hip Length




    SANCHEZ&CASTILLO                                                                                            6/29/2020              Page: 7
8
         Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 17 of 113

                      FIVE STAR CLAIMS ADJUSTING
                      1640 WEST OAKLAND PARK BLVD
                      SUITE 202
                      FORT LAUDERDALE, FL 33311




                                                    Summary for Dwelling
     Line Item Total                                                                    46,548.65
     Material Sales Tax                                                                    670.32

     Subtotal                                                                           47,218.97
     Overhead                                                                            7,082.84
     Profit                                                                              7,082.84
     Laundering Tax                                                                         32.18

     Replacement Cost Value                                                            $61,416.83
     Net Claim                                                                         $61,416.83




                                        GIL MARTIN




    SANCHEZ&CASTILLO                                                       6/29/2020        Page: 8
9
         Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 18 of 113

                   FIVE STAR CLAIMS ADJUSTING
                   1640 WEST OAKLAND PARK BLVD
                   SUITE 202
                   FORT LAUDERDALE, FL 33311



                                         Recap of Taxes, Overhead and Profit




             Overhead (15%)    Profit (15%)   Material Sales Tax Laundering Tax (2%)   Manuf. Home Tax   Storage Rental Tax
                                                           (7%)                                  (6%)                 (7%)

     Line Items
                    7,082.84       7,082.84              670.32               32.18               0.00                 0.00

     Total
                    7,082.84       7,082.84              670.32               32.18               0.00                 0.00




    SANCHEZ&CASTILLO                                                                             6/29/2020            Page: 9
10
             Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 19 of 113

                      FIVE STAR CLAIMS ADJUSTING
                      1640 WEST OAKLAND PARK BLVD
                      SUITE 202
                      FORT LAUDERDALE, FL 33311

                                                    Recap by Room

     Estimate: SANCHEZ&CASTILLO
            Main Level                                                        6,178.02    13.27%

     Area: Roof
            Roof1                                                            31,480.88    67.63%

              Area Subtotal: Roof                                            31,480.88    67.63%

     Area: Interior
            Entry/Foyer                                                       2,171.33     4.66%
            Hallway                                                             423.42     0.91%
            Living Room                                                       2,229.40     4.79%

              Area Subtotal: Interior                                         4,824.15    10.36%
              Dust Control                                                    1,484.78     3.19%
              Packout                                                         2,107.86     4.53%
              Labor Minimums Applied                                            472.96     1.02%

     Subtotal of Areas                                                       46,548.65    100.00%


     Total                                                                   46,548.65    100.00%




     SANCHEZ&CASTILLO                                                         6/29/2020      Page: 10
11
          Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 20 of 113

                   FIVE STAR CLAIMS ADJUSTING
                   1640 WEST OAKLAND PARK BLVD
                   SUITE 202
                   FORT LAUDERDALE, FL 33311

                                            Recap by Category

      O&P Items                                                               Total           %
      AWNINGS & PATIO COVERS                                                   672.00    1.09%
      CONT: GARMENT & SOFT GOODS CLN                                         1,237.53    2.01%
      CLEANING                                                                 887.08    1.44%
      CONTENT MANIPULATION                                                     134.04    0.22%
      CONT: PACKING,HANDLNG,STORAGE                                            715.67    1.17%
      GENERAL DEMOLITION                                                     6,003.34    9.77%
      DRYWALL                                                                1,386.86    2.26%
      ELECTRICAL                                                               179.57    0.29%
      PERMITS AND FEES                                                       2,944.42    4.79%
      FINISH CARPENTRY / TRIMWORK                                              208.16    0.34%
      FRAMING & ROUGH CARPENTRY                                              1,014.10    1.65%
      HAZARDOUS MATERIAL REMEDIATION                                           927.73    1.51%
      HEAT, VENT & AIR CONDITIONING                                            238.39    0.39%
      LABOR ONLY                                                             2,000.00    3.26%
      LIGHT FIXTURES                                                           118.23    0.19%
      PAINTING                                                               4,853.17    7.90%
      ROOFING                                                               21,265.98   34.63%
      SOFFIT, FASCIA, & GUTTER                                                 594.44    0.97%
      STUCCO & EXTERIOR PLASTER                                                244.38    0.40%
      WINDOW TREATMENT                                                         150.21    0.24%
      WATER EXTRACTION & REMEDIATION                                           773.35    1.26%
      O&P Items Subtotal                                                    46,548.65   75.79%
      Material Sales Tax                                                       670.32    1.09%
      Overhead                                                               7,082.84   11.53%
      Profit                                                                 7,082.84   11.53%
      Laundering Tax                                                            32.18    0.05%

      Total                                                                 61,416.83   100.00%




     SANCHEZ&CASTILLO                                                      6/29/2020      Page: 11
12
          Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 21 of 113

                      FIVE STAR CLAIMS ADJUSTING
                      1640 WEST OAKLAND PARK BLVD
                      SUITE 202
                      FORT LAUDERDALE, FL 33311

      1   Main Level - 1-P1150449
          Date Taken: 6/29/2020




      2   Main Level - 2-P1150450
          Date Taken: 6/29/2020


          Front Elevation




     SANCHEZ&CASTILLO                                                      6/29/2020      Page: 12
13
          Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 22 of 113

                      FIVE STAR CLAIMS ADJUSTING
                      1640 WEST OAKLAND PARK BLVD
                      SUITE 202
                      FORT LAUDERDALE, FL 33311

      3   Main Level - 3-P1150451
          Date Taken: 6/29/2020


          Left Elevation




      4   Main Level - 4-P1150452
          Date Taken: 6/29/2020


          Left Elevation




     SANCHEZ&CASTILLO                                                      6/29/2020      Page: 13
14
          Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 23 of 113

                      FIVE STAR CLAIMS ADJUSTING
                      1640 WEST OAKLAND PARK BLVD
                      SUITE 202
                      FORT LAUDERDALE, FL 33311

      5   Main Level - 5-P1150453
          Date Taken: 6/29/2020


          Right Elevation




      6   Main Level - 6-P1150454
          Date Taken: 6/29/2020


          Rear Elevation




     SANCHEZ&CASTILLO                                                      6/29/2020      Page: 14
15
          Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 24 of 113

                      FIVE STAR CLAIMS ADJUSTING
                      1640 WEST OAKLAND PARK BLVD
                      SUITE 202
                      FORT LAUDERDALE, FL 33311

      7   Roof/Roof1 - 7-P1150455
          Date Taken: 6/29/2020


          Overview of roof and all slopes




      8   Roof/Roof1 - 8-P1150456
          Date Taken: 6/29/2020


          Overview of roof and all slopes




     SANCHEZ&CASTILLO                                                      6/29/2020      Page: 15
16
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 25 of 113

                       FIVE STAR CLAIMS ADJUSTING
                       1640 WEST OAKLAND PARK BLVD
                       SUITE 202
                       FORT LAUDERDALE, FL 33311

      9    Roof/Roof1 - 9-P1150457
           Date Taken: 6/29/2020


           Overview of roof and all slopes




      10   Roof/Roof1 - 10-P1150458
           Date Taken: 6/29/2020


           Overview of roof and all slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 16
17
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 26 of 113

                       FIVE STAR CLAIMS ADJUSTING
                       1640 WEST OAKLAND PARK BLVD
                       SUITE 202
                       FORT LAUDERDALE, FL 33311

      11   Roof/Roof1 - 11-P1150459
           Date Taken: 6/29/2020


           Overview of roof and all slopes




      12   Roof/Roof1 - 12-P1150460
           Date Taken: 6/29/2020


           Overview of roof and all slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 17
18
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 27 of 113

                       FIVE STAR CLAIMS ADJUSTING
                       1640 WEST OAKLAND PARK BLVD
                       SUITE 202
                       FORT LAUDERDALE, FL 33311

      13   Roof/Roof1 - 13-P1150461
           Date Taken: 6/29/2020


           Pipe Jack




      14   Roof/Roof1 - 14-P1150462
           Date Taken: 6/29/2020


           Pipe Jack




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 18
19
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 28 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      15   Roof/Roof1 - 15-P1150463
           Date Taken: 6/29/2020


           Pipe Jack




      16   Roof/Roof1 - 16-P1150464
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 19
20
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 29 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      17   Roof/Roof1 - 17-P1150465
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      18   Roof/Roof1 - 18-P1150466
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 20
21
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 30 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      19   Roof/Roof1 - 19-P1150467
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      20   Roof/Roof1 - 20-P1150468
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 21
22
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 31 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      21   Roof/Roof1 - 21-P1150469
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      22   Roof/Roof1 - 22-P1150470
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 22
23
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 32 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      23   Roof/Roof1 - 23-P1150471
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      24   Roof/Roof1 - 24-P1150472
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 23
24
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 33 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      25   Roof/Roof1 - 25-P1150473
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      26   Roof/Roof1 - 26-P1150474
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 24
25
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 34 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      27   Roof/Roof1 - 27-P1150475
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      28   Roof/Roof1 - 28-P1150476
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 25
26
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 35 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      29   Roof/Roof1 - 29-P1150477
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      30   Roof/Roof1 - 30-P1150478
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 26
27
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 36 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      31   Roof/Roof1 - 31-P1150479
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      32   Roof/Roof1 - 32-P1150480
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 27
28
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 37 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      33   Roof/Roof1 - 33-P1150481
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      34   Roof/Roof1 - 34-P1150482
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 28
29
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 38 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      35   Roof/Roof1 - 35-P1150483
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      36   Roof/Roof1 - 36-P1150484
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 29
30
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 39 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      37   Roof/Roof1 - 37-P1150485
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      38   Roof/Roof1 - 38-P1150486
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 30
31
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 40 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      39   Roof/Roof1 - 39-P1150487
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      40   Roof/Roof1 - 40-P1150488
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 31
32
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 41 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      41   Roof/Roof1 - 41-P1150489
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      42   Roof/Roof1 - 42-P1150490
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 32
33
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 42 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      43   Roof/Roof1 - 43-P1150491
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      44   Roof/Roof1 - 44-P1150492
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 33
34
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 43 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      45   Roof/Roof1 - 45-P1150493
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      46   Roof/Roof1 - 46-P1150494
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 34
35
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 44 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      47   Roof/Roof1 - 47-P1150495
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      48   Roof/Roof1 - 48-P1150496
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 35
36
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 45 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      49   Roof/Roof1 - 49-P1150497
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      50   Roof/Roof1 - 50-P1150498
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 36
37
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 46 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      51   Roof/Roof1 - 51-P1150499
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      52   Roof/Roof1 - 52-P1150500
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 37
38
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 47 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      53   Roof/Roof1 - 53-P1150501
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      54   Roof/Roof1 - 54-P1150502
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 38
39
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 48 of 113

                       FIVE STAR CLAIMS ADJUSTING
                       1640 WEST OAKLAND PARK BLVD
                       SUITE 202
                       FORT LAUDERDALE, FL 33311

      55   Interior/Entry/Foyer - 63-
           P1150511
           Date Taken: 6/29/2020




      56   Interior/Entry/Foyer - 64-
           P1150512
           Date Taken: 6/29/2020


           Observed visible water damage to wall




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 39
40
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 49 of 113

                       FIVE STAR CLAIMS ADJUSTING
                       1640 WEST OAKLAND PARK BLVD
                       SUITE 202
                       FORT LAUDERDALE, FL 33311

      57   Interior/Entry/Foyer - 69-
           P1150517
           Date Taken: 6/29/2020


           Observed high moisture reading on
           wall




      58   Interior/Entry/Foyer - 70-
           P1150518
           Date Taken: 6/29/2020


           Observed high moisture reading on
           wall




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 40
41
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 50 of 113

                       FIVE STAR CLAIMS ADJUSTING
                       1640 WEST OAKLAND PARK BLVD
                       SUITE 202
                       FORT LAUDERDALE, FL 33311

      59   Interior/Entry/Foyer - 71-
           P1150519
           Date Taken: 6/29/2020


           Observed high moisture reading on
           wall




      60   Interior/Entry/Foyer - 72-
           P1150520
           Date Taken: 6/29/2020


           Observed high moisture reading on
           wall




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 41
42
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 51 of 113

                       FIVE STAR CLAIMS ADJUSTING
                       1640 WEST OAKLAND PARK BLVD
                       SUITE 202
                       FORT LAUDERDALE, FL 33311

      61   Interior/Entry/Foyer - 74-
           P1150522
           Date Taken: 6/29/2020


           Observed high moisture reading on
           wall




      62   Interior/Entry/Foyer - 75-
           P1150523
           Date Taken: 6/29/2020


           Observed high moisture reading on
           wall




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 42
43
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 52 of 113

                      FIVE STAR CLAIMS ADJUSTING
                      1640 WEST OAKLAND PARK BLVD
                      SUITE 202
                      FORT LAUDERDALE, FL 33311

      63   Interior/Entry/Foyer - 76-
           P1150524
           Date Taken: 6/29/2020




      64   Interior/Hallway - 86-P1150534
           Date Taken: 6/29/2020




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 43
44
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 53 of 113

                     FIVE STAR CLAIMS ADJUSTING
                     1640 WEST OAKLAND PARK BLVD
                     SUITE 202
                     FORT LAUDERDALE, FL 33311

      65   Interior/Hallway - 87-P1150535
           Date Taken: 6/29/2020




      66   Interior/Hallway - 88-P1150536
           Date Taken: 6/29/2020




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 44
45
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 54 of 113

                      FIVE STAR CLAIMS ADJUSTING
                      1640 WEST OAKLAND PARK BLVD
                      SUITE 202
                      FORT LAUDERDALE, FL 33311

      67   Interior/Hallway - 89-P1150537
           Date Taken: 6/29/2020




      68   Interior/Living Room - 77-
           P1150525
           Date Taken: 6/29/2020




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 45
46
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 55 of 113

                      FIVE STAR CLAIMS ADJUSTING
                      1640 WEST OAKLAND PARK BLVD
                      SUITE 202
                      FORT LAUDERDALE, FL 33311

      69   Interior/Living Room - 78-
           P1150526
           Date Taken: 6/29/2020




      70   Interior/Living Room - 79-
           P1150527
           Date Taken: 6/29/2020




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 46
47
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 56 of 113

                       FIVE STAR CLAIMS ADJUSTING
                       1640 WEST OAKLAND PARK BLVD
                       SUITE 202
                       FORT LAUDERDALE, FL 33311

      71   Interior/Living Room - 82-
           P1150530
           Date Taken: 6/29/2020


           Observed visible water damage to wall




      72   Interior/Living Room - 83-
           P1150531
           Date Taken: 6/29/2020


           Observed visible water damage to wall




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 47
48
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 57 of 113

                       FIVE STAR CLAIMS ADJUSTING
                       1640 WEST OAKLAND PARK BLVD
                       SUITE 202
                       FORT LAUDERDALE, FL 33311

      73   Interior/Living Room - 84-
           P1150532
           Date Taken: 6/29/2020


           Observed high moisture reading on
           wall




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 48
49

     Interior             Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 58 of 113




                                                                             4' 1"




                                                                                     2' 1
                                                                         "
                                                                    2' 1
                                                                             3' 7"




                                                                                        2' 1
                                                                      "
                                                                 2' 1




                                                                                          "
                                                                                                 5' 8"




                                                                                             "
                                                               1' 3"          5'                 5' 7"




                                                                                                         11' 10"
                                                                                                                   12'
                                                      20' 3"
                                                                19' 9"
                                                                             Entry/Foyer                               3' 4"
                                                                                                                             3'




                                                                                                         6' 10"



                                                                                                                                  6' 6"
                                                                                                                                          7' 2"
                                                                                                             Hallway




                                                                                                         1' 1"
                                                                                                                   1' 1"
                                                                                        12'




                                                                                                                   22' 11"
                                                                                                         22' 5"
                                                                             Living Room




                                                                                      12' 8"




                                                                                                                                                              Interior
       SANCHEZ&CASTILLO                                                                                                                           6/29/2020     Page: 49
50

     Roof                Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 59 of 113




                                                                        26'




                                                                                                                     25' 10"
                                                                                                                     24' 6"
                                                                       F1 (A)




                                               49'                Roof1




                                                                                                  19' 6"




                                                                                                                     25' 10"
                                                              F2 (B)




                                                                                                                      24' 6"
                                                                                         16' 5"


                                                                                                            8'
                                                                                F3Roof2
                                                                                  (A)   (1)
                                                                                        F4 (B)                  9"

                                                        14'
                                                                                                           8'
                                                                                                            9"




                                                                                        F5 (C)                       4'

                                                                                6' 4"                       6' 4"
                                                                                 6'      12'                 6'




                                                                                                                                           Roof
      SANCHEZ&CASTILLO                                                                                                         6/29/2020   Page: 50
     Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 60 of 113


Laura Melendez

Subject:               Jennifer Castillo & Alain Sanchez v. Geovera Specialty Insurance Company) CSK File: 0260.0055-00:
Attachments:           172421342 Castillo D&R Estimate.pdf; 1724214342 Castillo Estimate.pdf; 1724214342 Castillo R&R
                       estimate.pdf; SANCHEZ&CASTILLO_CASTILLO_EST..pdf


From: Alexander Luis Bucelo <alb@bucelolawgroup.com>
Sent: Monday, December 14, 2020 12:13 PM
To: Haley Dison <Haley.Dison@csklegal.com>
Cc: Rachel Peraza <rp@bucelolawgroup.com>
Subject: Jennifer Castillo & Alain Sanchez v. Geovera Specialty Insurance Company) CSK File: 0260.0055‐00:

[CAUTION: EXTERNAL EMAIL]

Good afternoon Haley,

It was a pleasure speaking with you just now. As per our conversation, please find our initial demand with supporting
documentation attached. I will leave this offer open for 14 days.

Please feel free to contact me if you wish to further discuss.

Initial Demand: 100,000.00 (inclusive of attorney’s fees and cost)

Thank you and I look forward to resolving this matter.

ALEXANDER LUIS BUCELO, ESQ.
Bucelo Law Group
Partner
6303 Blue Lagoon Drive, Suite 390
Miami, Florida 33126
Phone: 305-442-1942
Facsimile: 786-472-9295
ALB@BUCELOLAWGROUP.com

STATEMENT OF CONFIDENTIALITY AND PRIVILEGE
The information contained in this e‐mail communication may be confidential and privileged. It is intended only for the use of the
individual or entity identified. If you are not the intended recipient, please do not disseminate, distribute, or copy. Instead, please
notify us at 305‐442‐1942 and immediately delete this message.




                                                                    1

                                                                                                                   Exhibit C
Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 61 of 113
                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION


  Jennifer Castillo and Alain
  Sanchez

          Plaintiffs,

  v.

  GeoVera Specialty Insurance Company

        Defendant.
  ____________________________________/

                                AFFIDAVIT OF JAMES PERFETTI

          BEFORE ME personally appeared James Perfetti, who, after being duly sworn, deposes

  and says:

          1.      My name is James Perfetti, and I am over the age of eighteen years and otherwise

  sui juris.

          2.      I have personal knowledge regarding the facts contained in this affidavit.

          3.      I am employed as a Property Claims Supervisor by GeoVera, and I am the corporate

  representative assigned to the subject claim. In this capacity, I am familiar with the subject claim

  file.

          4.      GeoVera issued Policy No. GC50015540 to Jennifer Castillo and Alain Sanchez,

  which provided certain coverages to the property located at 11521 NW 87th PL, Hialeah Gardens,

  FL 33018, subject to the policy’s terms, limitations, exclusions, endorsements, conditions, etc.

  therein, for the policy period of July 16, 2017 through July 16, 2018.

          5.      On or about June 4, 2020, the insured reported damage as the result of Hurricane

  Irma at the subject property, which was alleged to have occurred on or about September 10, 2017.

  The claim was assigned claim number 1724214342.




                                                                                            Exhibit D
Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 62 of 113
     Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 63 of 113


Laura Melendez

Subject:               Jennifer Castillo & Alain Sanchez v. Geovera Specialty Insurance Company) CSK File: 0260.0055-00:
Attachments:           172421342 Castillo D&R Estimate.pdf; 1724214342 Castillo Estimate.pdf; 1724214342 Castillo R&R
                       estimate.pdf; SANCHEZ&CASTILLO_CASTILLO_EST..pdf


From: Alexander Luis Bucelo <alb@bucelolawgroup.com>
Sent: Monday, December 14, 2020 12:13 PM
To: Haley Dison <Haley.Dison@csklegal.com>
Cc: Rachel Peraza <rp@bucelolawgroup.com>
Subject: Jennifer Castillo & Alain Sanchez v. Geovera Specialty Insurance Company) CSK File: 0260.0055‐00:

[CAUTION: EXTERNAL EMAIL]

Good afternoon Haley,

It was a pleasure speaking with you just now. As per our conversation, please find our initial demand with supporting
documentation attached. I will leave this offer open for 14 days.

Please feel free to contact me if you wish to further discuss.

Initial Demand: 100,000.00 (inclusive of attorney’s fees and cost)

Thank you and I look forward to resolving this matter.

ALEXANDER LUIS BUCELO, ESQ.
Bucelo Law Group
Partner
6303 Blue Lagoon Drive, Suite 390
Miami, Florida 33126
Phone: 305-442-1942
Facsimile: 786-472-9295
ALB@BUCELOLAWGROUP.com

STATEMENT OF CONFIDENTIALITY AND PRIVILEGE
The information contained in this e‐mail communication may be confidential and privileged. It is intended only for the use of the
individual or entity identified. If you are not the intended recipient, please do not disseminate, distribute, or copy. Instead, please
notify us at 305‐442‐1942 and immediately delete this message.




                                                                    1

                                                                                                                   Exhibit D-1
1
      Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 64 of 113

                 FIVE STAR CLAIMS ADJUSTING
                 1640 WEST OAKLAND PARK BLVD
                 SUITE 202
                 FORT LAUDERDALE, FL 33311

           Insured:    ALAIN SANCHEZ & JENNIFER CASTILLO
          Property:    11521 NORTHWEST 87TH PLACE
                       HIALEAH GARDENS, FL 33018


         Estimator:    GIL MARTIN


    Claim Number: 1724214342                 Policy Number: GC50015540               Type of Loss: Hurricane Irma

     Date of Loss:     9/10/2017 12:00 AM                Date Received:
    Date Inspected:                                       Date Entered:   6/29/2020 12:00 AM

         Price List:   FLMI8X_JUN20
                       Restoration/Service/Remodel
         Estimate:     SANCHEZ&CASTILLO




                                                                                                 Exhibit D-2
2
          Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 65 of 113

                                 FIVE STAR CLAIMS ADJUSTING
                                 1640 WEST OAKLAND PARK BLVD
                                 SUITE 202
                                 FORT LAUDERDALE, FL 33311

                                                                       SANCHEZ&CASTILLO

                                                    Main Level

     DESCRIPTION                                            QUANTITY UNIT PRICE            TAX       O&P          RCV        DEPREC.             ACV
     1. Dumpster load - Approx. 40 yards, 7-8         1.00 EA         713.00                0.00    213.90      926.90           (0.00)        926.90
     tons of debris
     2. R&R Sheathing - plywood - 3/4" CDX          190.00 SF           2.74               13.43    160.22      694.25           (0.00)        694.25
     Above line item to be placed under dumpster as to not damage driveway
     3. Residential Supervision / Project            32.00 HR          62.50                0.00    600.00     2,600.00          (0.00)       2,600.00
     Management - per hour
     4. Architectural/Drafting fees (Bid Item)        1.00 EA       2,000.00                0.00    600.00     2,600.00          (0.00)       2,600.00
     5. Taxes, insurance, permits & fees (Bid         1.00 EA         944.42                0.00    283.32     1,227.74          (0.00)       1,227.74
     Item)

     Totals: Main Level                                                                    13.43   1,857.44    8,048.89               0.00    8,048.89



                                                                                 Roof

                          26'
                                                    Roof1
                                          25' 10"
                                           24' 6"




                      F1 (A)                                     1393.47 Surface Area                          13.93 Number of Squares
                                                                  163.30 Total Perimeter Length                30.00 Total Ridge Length
              49'




                      Roof1
                                   19' 6"
                                25' 10"




                                                                   17.42 Total Hip Length
                                 24' 6"
                                16' 5"




                    F2 (B)
                                 8'
                                     9"




                          Roof2
                           F3 F4  (1)
                              (A)(B)
                                          4'
                                8'




                    14'     F5 (C)
                                 9"




                                12'

     DESCRIPTION                                            QUANTITY UNIT PRICE            TAX       O&P          RCV        DEPREC.             ACV
     6. Remove Patio Cover - Roof panels only - 300.00 SF                       0.68        0.00     61.20      265.20           (0.00)        265.20
     No load
     7. Install Patio Cover - Roof panels only -   300.00 SF                    2.24        0.00    201.60      873.60           (0.00)        873.60
     No load
     8. Remove Tile roofing - Clay - Barrel         12.80 SQ                  198.23        0.00    761.20     3,298.54          (0.00)       3,298.54
     (mission) tile
     9. Tile roofing - Clay - Barrel (mission)      14.72 SQ                  962.44      315.43   4,344.76   18,827.31          (0.00)      18,827.31
     tile
     10. Remove Roll roofing - hot mop              12.80 SQ                   71.19        0.00    273.36     1,184.59          (0.00)       1,184.59
     application
     11. Roll roofing - hot mop application         12.80 SQ                  224.68       61.74    881.30     3,818.94          (0.00)       3,818.94
     12. R&R Sheathing - plywood - 1/2" CDX        400.00 SF                    2.15       19.32    263.80     1,143.12          (0.00)       1,143.12
     13. Re-nailing of roof sheathing - complete 1,280.00 SF                    0.39        1.79    150.30       651.29          (0.00)         651.29
     re-nail
     14. R&R Ridge / Hip / Rake cap - tile         139.00 LF                   21.18       67.53    903.46     3,915.01          (0.00)       3,915.01
     roofing
     15. R&R Drip edge                             154.00 LF                    3.77        8.84    176.84      766.26           (0.00)        766.26
     16. R&R Valley metal                           16.00 LF                    8.45        2.27     41.24      178.71           (0.00)        178.71
     17. R&R Fascia - 1" x 4" - #1 pine            154.00 LF                    4.19       13.04    197.50      855.80           (0.00)        855.80

    SANCHEZ&CASTILLO                                                                                                      6/29/2020              Page: 2
3
          Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 66 of 113

                                           FIVE STAR CLAIMS ADJUSTING
                                           1640 WEST OAKLAND PARK BLVD
                                           SUITE 202
                                           FORT LAUDERDALE, FL 33311



                                                                                                CONTINUED - Roof1



     DESCRIPTION                                                             QUANTITY UNIT PRICE                    TAX        O&P         RCV        DEPREC.             ACV
     18. Prime & paint exterior fascia - wood,                                  154.00 LF               1.60         1.72     74.44      322.56           (0.00)         322.56
     4"- 6" wide
     19. Bird stop - Eave closure strip for tile                                154.00 LF               4.82        16.92    227.76      986.96           (0.00)         986.96
     roofing - metal
     20. R&R Flashing - pipe jack                                                    3.00 EA           70.99         2.42     64.62      280.01           (0.00)         280.01
     21. Stucco / Ext. Plaster Repair - Min.                                         1.00 EA          244.38         1.22     73.68      319.28           (0.00)         319.28
     Charge - Lab. and Mat.
     22. Clean with pressure/chemical spray                                   1,540.00 SF               0.27         1.08    125.06       541.94          (0.00)         541.94
     23. Exterior - seal or prime then paint with                             1,540.00 SF               1.49        48.51    702.94     3,046.05          (0.00)       3,046.05
     two finish coats
     24. Final cleaning - construction -                                      1,540.00 SF               0.19         0.00     87.78      380.38           (0.00)         380.38
     Residential

     Totals: Roof1                                                                                                 561.83   9,612.84   41,655.55               0.00   41,655.55

     Total: Roof                                                                                                   561.83   9,612.84   41,655.55               0.00   41,655.55



                                                                                                        Interior

                1' 4"                      2' 6"                       Entry/Foyer                                                                                    Height: 8'
                 1' 3" 5'              2' 4"    9"

                                                                                       423.24   SF Walls                               237.85 SF Ceiling
                                                11' 10"
                                                          12'




                                                                                       661.09   SF Walls & Ceiling                     237.85 SF Floor
               20' 3"
                        19' 9"




                            Entry/Foyer
                                                                                        26.43   SY Flooring                             51.82 LF Floor Perimeter
                                                1'
                                                          3' 6"




                                                Hallway                                 58.32   LF Ceil. Perimeter
                                                2' 4"




                                 8'        3'


     Missing Wall - Goes to Floor                                                        3' X 6' 8"                         Opens into LIVING_ROOM
     Missing Wall - Goes to Floor                                                        3' 6" X 6' 8"                      Opens into HALLWAY
                          Living Room

                                                                       Subroom: Bay (1)                                                                               Height: 8'
             5" 2' 10"                           9"                                     61.74   SF Walls                                 7.49 SF Ceiling
          6"




                                                           9" 1




                                                                                        69.23   SF Walls & Ceiling                       7.49 SF Floor
                        "




                                                7"
                1' 3




                                                                  0"
        7"




                                                                                         0.83   SY Flooring                              7.72 LF Floor Perimeter
                                                  8"
             9"




                                      5'                                                 7.72   LF Ceil. Perimeter


     Missing Wall                                                                        5' 1/2" X 8'                       Opens into ENTRY_FOYER

     DESCRIPTION                                                             QUANTITY UNIT PRICE                    TAX       O&P          RCV        DEPREC.             ACV
     25. Contents - move out then reset                                              1.00 EA           44.68         0.00     13.40       58.08           (0.00)          58.08
    SANCHEZ&CASTILLO                                                                                                                               6/29/2020               Page: 3




                                               Entry/Foyer
4
                  Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 67 of 113

                                                FIVE STAR CLAIMS ADJUSTING
                                                1640 WEST OAKLAND PARK BLVD
                                                SUITE 202
                                                FORT LAUDERDALE, FL 33311



                                                                                    CONTINUED - Entry/Foyer



           DESCRIPTION                                                  QUANTITY UNIT PRICE               TAX          O&P        RCV        DEPREC.             ACV
           26. Floor protection - heavy paper and tape                      245.34 SF          0.31           1.03     23.12    100.21           (0.00)         100.21
           27. Mask and prep for paint - plastic,                            66.04 LF          1.32           1.20     26.52    114.89           (0.00)         114.89
           paper, tape (per LF)
           28. Window blind - horizontal or vertical -                        1.00 EA         32.93           0.00      9.88     42.81           (0.00)          42.81
           Detach & reset
           29. Outlet or switch - Detach & reset                              4.00 EA         14.14           0.00     16.96     73.52           (0.00)          73.52
           30. Light fixture - Detach & reset                                 1.00 EA         39.41           0.00     11.82     51.23           (0.00)          51.23
           31. Heat/AC register - Mechanically                                1.00 EA         13.13           0.00      3.94     17.07           (0.00)          17.07
           attached - Detach & reset
           32. R&R Casing - 3 1/4"                                           18.00 LF          3.36           2.47     18.88     81.83           (0.00)          81.83
           33. Drywall Repair - Minimum Charge -                              1.00 EA        451.93           1.04    135.90    588.87           (0.00)         588.87
           Labor and Material
           34. Texture drywall - smooth / skim coat                         200.00 SF          1.38           1.82     83.34    361.16           (0.00)         361.16
           35. Paint door/window trim & jamb - 1                              2.00 EA         20.12           0.48     12.22     52.94           (0.00)          52.94
           coat (per side)
           36. Apply anti-microbial agent to the walls                      484.98 SF          0.26           1.36     38.22    165.67           (0.00)         165.67
           37. Paint the walls - two coats                                  484.98 SF          0.94           8.49    139.30    603.67           (0.00)         603.67
           38. Seal the walls w/latex based stain                           484.98 SF          0.78           4.41    114.80    497.49           (0.00)         497.49
           blocker - two coats
           39. General clean - up                                             1.00 HR         32.49           0.00      9.74     42.23           (0.00)          42.23

           Totals: Entry/Foyer                                                                            22.30       658.04   2,851.67               0.00    2,851.67




    Entry/Foyer                                                   Hallway                                                                                    Height: 8'
                         3" 2' 6" 7"
                                                    2' 6" 6"
                                        3' 6" 10"
                     1'




                                            3"
                                                                                128.67   SF Walls                              19.50 SF Ceiling
                                                    3' 6"
                                            3' 2"




                             Hallway                                            148.17   SF Walls & Ceiling                    19.50 SF Floor
                                 3' 10"


                                                    1' 2" 2' 6"
                                                         4' 2"




                                                                                  2.17   SY Flooring                           15.50 LF Floor Perimeter
                              2' 2"
                     2' 4"



                             10"




                                                                                 19.00   LF Ceil. Perimeter


           Missing Wall - Goes to Floor                                            3' 6" X 6' 8"                     Opens into ENTRY_FOYER

           DESCRIPTION                                                  QUANTITY UNIT PRICE               TAX          O&P        RCV        DEPREC.             ACV
            40. Contents - move out then reset                                1.00 EA         44.68           0.00     13.40     58.08           (0.00)          58.08
            41. Floor protection - heavy paper and tape                      19.50 SF          0.31           0.08      1.84      7.97           (0.00)           7.97
            42. Mask and prep for paint - plastic,
    Living Room                                                              19.00 LF          1.32           0.35      7.62     33.05           (0.00)          33.05
            paper, tape (per LF)
            43. Paint door/window trim & jamb - 1                             3.00 EA         20.12           0.72     18.32     79.40           (0.00)          79.40
            coat (per side)
            44. Apply anti-microbial agent to the walls                     128.67 SF          0.26           0.36     10.14     43.95           (0.00)          43.95
       SANCHEZ&CASTILLO                                                                                                                   6/29/2020               Page: 4
5
          Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 68 of 113

                               FIVE STAR CLAIMS ADJUSTING
                               1640 WEST OAKLAND PARK BLVD
                               SUITE 202
                               FORT LAUDERDALE, FL 33311



                                                                          CONTINUED - Hallway



     DESCRIPTION                                            QUANTITY UNIT PRICE               TAX           O&P         RCV        DEPREC.             ACV
     45. Paint the walls - two coats                          128.67 SF              0.94         2.25     36.96      160.16           (0.00)         160.16
     46. Seal the walls w/latex based stain                   128.67 SF              0.78         1.17     30.46      131.99           (0.00)         131.99
     blocker - two coats
     47. General clean - up                                     1.00 HR             32.49         0.00      9.74       42.23           (0.00)          42.23

     Totals: Hallway                                                                              4.93    128.48      556.83                0.00      556.83

                 Entry/Foyer

                                Hallway
                    8'       3' 1'
                                                      Living Room                                                                                  Height: 8'
                                            10' 10"
                                              11'




                                                                    530.67   SF Walls                               269.00 SF Ceiling
                                         17' 4"
                                         17' 2"
              22' 11"
               22' 5"




                                     2' 6"




                Living Room
                                                                    799.67   SF Walls & Ceiling                     269.00 SF Floor
                                                                     29.89   SY Flooring                             65.83 LF Floor Perimeter
                               9' 1"



                               9' 5"
                           2' 9"
                           3' 1"




                2' 6" 7'                                             68.83   LF Ceil. Perimeter
               2' 10"



     Missing Wall - Goes to Floor                                     3' X 6' 8"                         Opens into ENTRY_FOYER

     DESCRIPTION                                            QUANTITY UNIT PRICE               TAX          O&P          RCV        DEPREC.             ACV
     48. Contents - move out then reset                         1.00 EA             44.68         0.00     13.40       58.08           (0.00)          58.08
     49. Floor protection - heavy paper and tape              269.00 SF              0.31         1.13     25.36      109.88           (0.00)         109.88
     50. Mask and prep for paint - plastic,                    68.83 LF              1.32         1.25     27.64      119.75           (0.00)         119.75
     paper, tape (per LF)
     51. Outlet or switch - Detach & reset                      6.00 EA             14.14         0.00     25.46      110.30           (0.00)         110.30
     52. Light fixture - Detach & reset                         2.00 EA             39.41         0.00     23.64      102.46           (0.00)         102.46
     53. Smoke detector - Detach & reset                        1.00 EA             38.17         0.00     11.46       49.63           (0.00)          49.63
     54. Heat/AC register - Mechanically                        2.00 EA             13.13         0.00      7.88       34.14           (0.00)          34.14
     attached - Detach & reset
     55. Drywall Repair - Minimum Charge -                      1.00 EA            451.93         1.04    135.90      588.87           (0.00)         588.87
     Labor and Material
     56. Texture drywall - smooth / skim coat                 150.00 SF              1.38         1.37     62.52      270.89           (0.00)         270.89
     57. Paint door/window trim & jamb - 1                      2.00 EA             20.12         0.48     12.22       52.94           (0.00)          52.94
     coat (per side)
     58. Apply anti-microbial agent to the walls              530.67 SF              0.26         1.49     41.84      181.30           (0.00)         181.30
     59. Paint the walls - two coats                          530.67 SF              0.94         9.29    152.42      660.54           (0.00)         660.54
     60. Seal the walls w/latex based stain                   530.67 SF              0.78         4.83    125.62      544.37           (0.00)         544.37
     blocker - two coats
     61. General clean - up                                     1.00 HR             32.49         0.00      9.74       42.23           (0.00)          42.23

     Totals: Living Room                                                                      20.88       675.10     2,925.38               0.00    2,925.38

     Total: Interior                                                                          48.11      1,461.62    6,333.88               0.00    6,333.88
    SANCHEZ&CASTILLO                                                                                                            6/29/2020               Page: 5
6
          Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 69 of 113

                       FIVE STAR CLAIMS ADJUSTING
                       1640 WEST OAKLAND PARK BLVD
                       SUITE 202
                       FORT LAUDERDALE, FL 33311


                                        Dust Control

     DESCRIPTION                                 QUANTITY UNIT PRICE    TAX      O&P        RCV        DEPREC.            ACV
     62. Negative air fan/Air scrubber (24 hr        6.00 DA    70.00    0.00   126.00    546.00           (0.00)       546.00
     period) - No monit.
     63. Add for HEPA filter (for negative air       2.00 EA   188.77   24.50   120.62    522.66           (0.00)       522.66
     exhaust fan)
     64. Equipment setup, take down, and             1.00 HR    55.84    0.00    16.76     72.60           (0.00)        72.60
     monitoring (hourly charge)
     65. Eye protection - plastic goggles -          5.00 EA     8.73    3.06    14.02     60.73           (0.00)        60.73
     Disposable
     66. Containment Barrier/Airlock/Decon.        500.00 SF     0.92    2.80   138.84    601.64           (0.00)       601.64
     Chamber
     67. Containment Barrier - tension post -        6.00 DA     3.30    0.00     5.94     25.74           (0.00)        25.74
     per day
     68. Peel & seal zipper                          2.00 EA    13.37    1.30     8.42     36.46           (0.00)        36.46
     69. Cleaning - Labor Minimum                    1.00 EA    81.21    0.00    24.36    105.57           (0.00)       105.57

     Totals: Dust Control                                               31.66   454.96   1,971.40               0.00   1,971.40




                                        Packout

     DESCRIPTION                                 QUANTITY UNIT PRICE    TAX      O&P        RCV        DEPREC.            ACV
     70. On-Site Inventory, Packing, Boxing,         6.00 HR    32.48    5.07    58.46    258.41           (0.00)       258.41
     Moving chrg - per hour
     71. Contents Evaluation and/or                  6.00 HR    58.08    0.00   104.54    453.02           (0.00)       453.02
     Supervisor/Admin - per hour
     72. Moving van (16'-20') and equipment -        1.00 EA   148.83    0.00    44.64    193.47           (0.00)       193.47
     per day
     73. Off-site storage & insur. - climate       500.00 SF     1.85   24.05   277.50   1,226.55          (0.00)      1,226.55
     controlled - per month
     74. Bubble Wrap - Add-on cost for fragile     800.00 LF     0.22   12.32    56.50    244.82           (0.00)       244.82
     items
     75. Provide box & tape - large size            20.00 EA     3.76    1.95    22.56     99.71           (0.00)        99.71
     76. Provide box & tape - medium size           15.00 EA     2.83    1.11    12.74     56.30           (0.00)        56.30
     77. Provide furniture lightweight               6.00 EA     7.06    2.97    13.60     58.93           (0.00)        58.93
     blanket/pad
     78. Haul debris - per pickup truck load -       1.00 EA   154.66    0.00    46.40    201.06           (0.00)       201.06
     including dump fees

     Totals: Packout                                                    47.47   636.94   2,792.27               0.00   2,792.27



     Labor Minimums Applied

     DESCRIPTION                                 QUANTITY UNIT PRICE    TAX      O&P        RCV        DEPREC.            ACV
     79. Window treatment repair                     1.00 EA   117.28    0.00    35.18    152.46           (0.00)       152.46

    SANCHEZ&CASTILLO                                                                                6/29/2020             Page: 6
7
          Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 70 of 113

                      FIVE STAR CLAIMS ADJUSTING
                      1640 WEST OAKLAND PARK BLVD
                      SUITE 202
                      FORT LAUDERDALE, FL 33311



                                                    CONTINUED - Labor Minimums Applied



     DESCRIPTION                                 QUANTITY UNIT PRICE            TAX         O&P         RCV        DEPREC.             ACV
     80. Heat, vent, & air cond. labor minimum      1.00 EA       199.00         0.00      59.70      258.70           (0.00)        258.70
     81. Finish carpentry labor minimum             1.00 EA       156.68         0.00      47.00      203.68           (0.00)        203.68

     Totals: Labor Minimums Applied                                              0.00     141.88      614.84                0.00     614.84

     Line Item Totals: SANCHEZ&CASTILLO                                        702.50   14,165.68   61,416.83               0.00   61,416.83



     Grand Total Areas:
          1,144.31 SF Walls                             533.84 SF Ceiling                    1,678.15 SF Walls and Ceiling
            533.84 SF Floor                              59.32 SY Flooring                     140.87 LF Floor Perimeter
              0.00 SF Long Wall                           0.00 SF Short Wall                   153.87 LF Ceil. Perimeter

            533.84 Floor Area                           579.86 Total Area                    1,144.31 Interior Wall Area
          1,510.94 Exterior Wall Area                   120.87 Exterior Perimeter of
                                                               Walls

          1,393.47 Surface Area                          13.93 Number of Squares               163.30 Total Perimeter Length
             30.00 Total Ridge Length                    17.42 Total Hip Length




    SANCHEZ&CASTILLO                                                                                            6/29/2020              Page: 7
8
         Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 71 of 113

                      FIVE STAR CLAIMS ADJUSTING
                      1640 WEST OAKLAND PARK BLVD
                      SUITE 202
                      FORT LAUDERDALE, FL 33311




                                                    Summary for Dwelling
     Line Item Total                                                                    46,548.65
     Material Sales Tax                                                                    670.32

     Subtotal                                                                           47,218.97
     Overhead                                                                            7,082.84
     Profit                                                                              7,082.84
     Laundering Tax                                                                         32.18

     Replacement Cost Value                                                            $61,416.83
     Net Claim                                                                         $61,416.83




                                        GIL MARTIN




    SANCHEZ&CASTILLO                                                       6/29/2020        Page: 8
9
         Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 72 of 113

                   FIVE STAR CLAIMS ADJUSTING
                   1640 WEST OAKLAND PARK BLVD
                   SUITE 202
                   FORT LAUDERDALE, FL 33311



                                         Recap of Taxes, Overhead and Profit




             Overhead (15%)    Profit (15%)   Material Sales Tax Laundering Tax (2%)   Manuf. Home Tax   Storage Rental Tax
                                                           (7%)                                  (6%)                 (7%)

     Line Items
                    7,082.84       7,082.84              670.32               32.18               0.00                 0.00

     Total
                    7,082.84       7,082.84              670.32               32.18               0.00                 0.00




    SANCHEZ&CASTILLO                                                                             6/29/2020            Page: 9
10
             Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 73 of 113

                      FIVE STAR CLAIMS ADJUSTING
                      1640 WEST OAKLAND PARK BLVD
                      SUITE 202
                      FORT LAUDERDALE, FL 33311

                                                    Recap by Room

     Estimate: SANCHEZ&CASTILLO
            Main Level                                                        6,178.02    13.27%

     Area: Roof
            Roof1                                                            31,480.88    67.63%

              Area Subtotal: Roof                                            31,480.88    67.63%

     Area: Interior
            Entry/Foyer                                                       2,171.33     4.66%
            Hallway                                                             423.42     0.91%
            Living Room                                                       2,229.40     4.79%

              Area Subtotal: Interior                                         4,824.15    10.36%
              Dust Control                                                    1,484.78     3.19%
              Packout                                                         2,107.86     4.53%
              Labor Minimums Applied                                            472.96     1.02%

     Subtotal of Areas                                                       46,548.65    100.00%


     Total                                                                   46,548.65    100.00%




     SANCHEZ&CASTILLO                                                         6/29/2020      Page: 10
11
          Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 74 of 113

                   FIVE STAR CLAIMS ADJUSTING
                   1640 WEST OAKLAND PARK BLVD
                   SUITE 202
                   FORT LAUDERDALE, FL 33311

                                            Recap by Category

      O&P Items                                                               Total           %
      AWNINGS & PATIO COVERS                                                   672.00    1.09%
      CONT: GARMENT & SOFT GOODS CLN                                         1,237.53    2.01%
      CLEANING                                                                 887.08    1.44%
      CONTENT MANIPULATION                                                     134.04    0.22%
      CONT: PACKING,HANDLNG,STORAGE                                            715.67    1.17%
      GENERAL DEMOLITION                                                     6,003.34    9.77%
      DRYWALL                                                                1,386.86    2.26%
      ELECTRICAL                                                               179.57    0.29%
      PERMITS AND FEES                                                       2,944.42    4.79%
      FINISH CARPENTRY / TRIMWORK                                              208.16    0.34%
      FRAMING & ROUGH CARPENTRY                                              1,014.10    1.65%
      HAZARDOUS MATERIAL REMEDIATION                                           927.73    1.51%
      HEAT, VENT & AIR CONDITIONING                                            238.39    0.39%
      LABOR ONLY                                                             2,000.00    3.26%
      LIGHT FIXTURES                                                           118.23    0.19%
      PAINTING                                                               4,853.17    7.90%
      ROOFING                                                               21,265.98   34.63%
      SOFFIT, FASCIA, & GUTTER                                                 594.44    0.97%
      STUCCO & EXTERIOR PLASTER                                                244.38    0.40%
      WINDOW TREATMENT                                                         150.21    0.24%
      WATER EXTRACTION & REMEDIATION                                           773.35    1.26%
      O&P Items Subtotal                                                    46,548.65   75.79%
      Material Sales Tax                                                       670.32    1.09%
      Overhead                                                               7,082.84   11.53%
      Profit                                                                 7,082.84   11.53%
      Laundering Tax                                                            32.18    0.05%

      Total                                                                 61,416.83   100.00%




     SANCHEZ&CASTILLO                                                      6/29/2020      Page: 11
12
          Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 75 of 113

                      FIVE STAR CLAIMS ADJUSTING
                      1640 WEST OAKLAND PARK BLVD
                      SUITE 202
                      FORT LAUDERDALE, FL 33311

      1   Main Level - 1-P1150449
          Date Taken: 6/29/2020




      2   Main Level - 2-P1150450
          Date Taken: 6/29/2020


          Front Elevation




     SANCHEZ&CASTILLO                                                      6/29/2020      Page: 12
13
          Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 76 of 113

                      FIVE STAR CLAIMS ADJUSTING
                      1640 WEST OAKLAND PARK BLVD
                      SUITE 202
                      FORT LAUDERDALE, FL 33311

      3   Main Level - 3-P1150451
          Date Taken: 6/29/2020


          Left Elevation




      4   Main Level - 4-P1150452
          Date Taken: 6/29/2020


          Left Elevation




     SANCHEZ&CASTILLO                                                      6/29/2020      Page: 13
14
          Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 77 of 113

                      FIVE STAR CLAIMS ADJUSTING
                      1640 WEST OAKLAND PARK BLVD
                      SUITE 202
                      FORT LAUDERDALE, FL 33311

      5   Main Level - 5-P1150453
          Date Taken: 6/29/2020


          Right Elevation




      6   Main Level - 6-P1150454
          Date Taken: 6/29/2020


          Rear Elevation




     SANCHEZ&CASTILLO                                                      6/29/2020      Page: 14
15
          Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 78 of 113

                      FIVE STAR CLAIMS ADJUSTING
                      1640 WEST OAKLAND PARK BLVD
                      SUITE 202
                      FORT LAUDERDALE, FL 33311

      7   Roof/Roof1 - 7-P1150455
          Date Taken: 6/29/2020


          Overview of roof and all slopes




      8   Roof/Roof1 - 8-P1150456
          Date Taken: 6/29/2020


          Overview of roof and all slopes




     SANCHEZ&CASTILLO                                                      6/29/2020      Page: 15
16
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 79 of 113

                       FIVE STAR CLAIMS ADJUSTING
                       1640 WEST OAKLAND PARK BLVD
                       SUITE 202
                       FORT LAUDERDALE, FL 33311

      9    Roof/Roof1 - 9-P1150457
           Date Taken: 6/29/2020


           Overview of roof and all slopes




      10   Roof/Roof1 - 10-P1150458
           Date Taken: 6/29/2020


           Overview of roof and all slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 16
17
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 80 of 113

                       FIVE STAR CLAIMS ADJUSTING
                       1640 WEST OAKLAND PARK BLVD
                       SUITE 202
                       FORT LAUDERDALE, FL 33311

      11   Roof/Roof1 - 11-P1150459
           Date Taken: 6/29/2020


           Overview of roof and all slopes




      12   Roof/Roof1 - 12-P1150460
           Date Taken: 6/29/2020


           Overview of roof and all slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 17
18
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 81 of 113

                       FIVE STAR CLAIMS ADJUSTING
                       1640 WEST OAKLAND PARK BLVD
                       SUITE 202
                       FORT LAUDERDALE, FL 33311

      13   Roof/Roof1 - 13-P1150461
           Date Taken: 6/29/2020


           Pipe Jack




      14   Roof/Roof1 - 14-P1150462
           Date Taken: 6/29/2020


           Pipe Jack




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 18
19
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 82 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      15   Roof/Roof1 - 15-P1150463
           Date Taken: 6/29/2020


           Pipe Jack




      16   Roof/Roof1 - 16-P1150464
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 19
20
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 83 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      17   Roof/Roof1 - 17-P1150465
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      18   Roof/Roof1 - 18-P1150466
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 20
21
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 84 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      19   Roof/Roof1 - 19-P1150467
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      20   Roof/Roof1 - 20-P1150468
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 21
22
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 85 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      21   Roof/Roof1 - 21-P1150469
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      22   Roof/Roof1 - 22-P1150470
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 22
23
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 86 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      23   Roof/Roof1 - 23-P1150471
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      24   Roof/Roof1 - 24-P1150472
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 23
24
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 87 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      25   Roof/Roof1 - 25-P1150473
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      26   Roof/Roof1 - 26-P1150474
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 24
25
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 88 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      27   Roof/Roof1 - 27-P1150475
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      28   Roof/Roof1 - 28-P1150476
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 25
26
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 89 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      29   Roof/Roof1 - 29-P1150477
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      30   Roof/Roof1 - 30-P1150478
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 26
27
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 90 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      31   Roof/Roof1 - 31-P1150479
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      32   Roof/Roof1 - 32-P1150480
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 27
28
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 91 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      33   Roof/Roof1 - 33-P1150481
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      34   Roof/Roof1 - 34-P1150482
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 28
29
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 92 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      35   Roof/Roof1 - 35-P1150483
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      36   Roof/Roof1 - 36-P1150484
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 29
30
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 93 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      37   Roof/Roof1 - 37-P1150485
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      38   Roof/Roof1 - 38-P1150486
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 30
31
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 94 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      39   Roof/Roof1 - 39-P1150487
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      40   Roof/Roof1 - 40-P1150488
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 31
32
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 95 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      41   Roof/Roof1 - 41-P1150489
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      42   Roof/Roof1 - 42-P1150490
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 32
33
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 96 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      43   Roof/Roof1 - 43-P1150491
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      44   Roof/Roof1 - 44-P1150492
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 33
34
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 97 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      45   Roof/Roof1 - 45-P1150493
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      46   Roof/Roof1 - 46-P1150494
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 34
35
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 98 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      47   Roof/Roof1 - 47-P1150495
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      48   Roof/Roof1 - 48-P1150496
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 35
36
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 99 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      49   Roof/Roof1 - 49-P1150497
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      50   Roof/Roof1 - 50-P1150498
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                       6/29/2020      Page: 36
37
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 100 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      51   Roof/Roof1 - 51-P1150499
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      52   Roof/Roof1 - 52-P1150500
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                        6/29/2020     Page: 37
38
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 101 of 113

                        FIVE STAR CLAIMS ADJUSTING
                        1640 WEST OAKLAND PARK BLVD
                        SUITE 202
                        FORT LAUDERDALE, FL 33311

      53   Roof/Roof1 - 53-P1150501
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




      54   Roof/Roof1 - 54-P1150502
           Date Taken: 6/29/2020


           Observed lifted, cracked, and
           damaged tiles to roof, ridge and all
           slopes




     SANCHEZ&CASTILLO                                                        6/29/2020     Page: 38
39
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 102 of 113

                       FIVE STAR CLAIMS ADJUSTING
                       1640 WEST OAKLAND PARK BLVD
                       SUITE 202
                       FORT LAUDERDALE, FL 33311

      55   Interior/Entry/Foyer - 63-
           P1150511
           Date Taken: 6/29/2020




      56   Interior/Entry/Foyer - 64-
           P1150512
           Date Taken: 6/29/2020


           Observed visible water damage to wall




     SANCHEZ&CASTILLO                                                        6/29/2020     Page: 39
40
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 103 of 113

                       FIVE STAR CLAIMS ADJUSTING
                       1640 WEST OAKLAND PARK BLVD
                       SUITE 202
                       FORT LAUDERDALE, FL 33311

      57   Interior/Entry/Foyer - 69-
           P1150517
           Date Taken: 6/29/2020


           Observed high moisture reading on
           wall




      58   Interior/Entry/Foyer - 70-
           P1150518
           Date Taken: 6/29/2020


           Observed high moisture reading on
           wall




     SANCHEZ&CASTILLO                                                        6/29/2020     Page: 40
41
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 104 of 113

                       FIVE STAR CLAIMS ADJUSTING
                       1640 WEST OAKLAND PARK BLVD
                       SUITE 202
                       FORT LAUDERDALE, FL 33311

      59   Interior/Entry/Foyer - 71-
           P1150519
           Date Taken: 6/29/2020


           Observed high moisture reading on
           wall




      60   Interior/Entry/Foyer - 72-
           P1150520
           Date Taken: 6/29/2020


           Observed high moisture reading on
           wall




     SANCHEZ&CASTILLO                                                        6/29/2020     Page: 41
42
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 105 of 113

                       FIVE STAR CLAIMS ADJUSTING
                       1640 WEST OAKLAND PARK BLVD
                       SUITE 202
                       FORT LAUDERDALE, FL 33311

      61   Interior/Entry/Foyer - 74-
           P1150522
           Date Taken: 6/29/2020


           Observed high moisture reading on
           wall




      62   Interior/Entry/Foyer - 75-
           P1150523
           Date Taken: 6/29/2020


           Observed high moisture reading on
           wall




     SANCHEZ&CASTILLO                                                        6/29/2020     Page: 42
43
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 106 of 113

                      FIVE STAR CLAIMS ADJUSTING
                      1640 WEST OAKLAND PARK BLVD
                      SUITE 202
                      FORT LAUDERDALE, FL 33311

      63   Interior/Entry/Foyer - 76-
           P1150524
           Date Taken: 6/29/2020




      64   Interior/Hallway - 86-P1150534
           Date Taken: 6/29/2020




     SANCHEZ&CASTILLO                                                        6/29/2020     Page: 43
44
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 107 of 113

                     FIVE STAR CLAIMS ADJUSTING
                     1640 WEST OAKLAND PARK BLVD
                     SUITE 202
                     FORT LAUDERDALE, FL 33311

      65   Interior/Hallway - 87-P1150535
           Date Taken: 6/29/2020




      66   Interior/Hallway - 88-P1150536
           Date Taken: 6/29/2020




     SANCHEZ&CASTILLO                                                        6/29/2020     Page: 44
45
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 108 of 113

                      FIVE STAR CLAIMS ADJUSTING
                      1640 WEST OAKLAND PARK BLVD
                      SUITE 202
                      FORT LAUDERDALE, FL 33311

      67   Interior/Hallway - 89-P1150537
           Date Taken: 6/29/2020




      68   Interior/Living Room - 77-
           P1150525
           Date Taken: 6/29/2020




     SANCHEZ&CASTILLO                                                        6/29/2020     Page: 45
46
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 109 of 113

                      FIVE STAR CLAIMS ADJUSTING
                      1640 WEST OAKLAND PARK BLVD
                      SUITE 202
                      FORT LAUDERDALE, FL 33311

      69   Interior/Living Room - 78-
           P1150526
           Date Taken: 6/29/2020




      70   Interior/Living Room - 79-
           P1150527
           Date Taken: 6/29/2020




     SANCHEZ&CASTILLO                                                        6/29/2020     Page: 46
47
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 110 of 113

                       FIVE STAR CLAIMS ADJUSTING
                       1640 WEST OAKLAND PARK BLVD
                       SUITE 202
                       FORT LAUDERDALE, FL 33311

      71   Interior/Living Room - 82-
           P1150530
           Date Taken: 6/29/2020


           Observed visible water damage to wall




      72   Interior/Living Room - 83-
           P1150531
           Date Taken: 6/29/2020


           Observed visible water damage to wall




     SANCHEZ&CASTILLO                                                        6/29/2020     Page: 47
48
           Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 111 of 113

                       FIVE STAR CLAIMS ADJUSTING
                       1640 WEST OAKLAND PARK BLVD
                       SUITE 202
                       FORT LAUDERDALE, FL 33311

      73   Interior/Living Room - 84-
           P1150532
           Date Taken: 6/29/2020


           Observed high moisture reading on
           wall




     SANCHEZ&CASTILLO                                                        6/29/2020     Page: 48
49

     Interior             Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 112 of 113




                                                                             4' 1"




                                                                                     2' 1
                                                                         "
                                                                    2' 1
                                                                             3' 7"




                                                                                        2' 1
                                                                      "
                                                                 2' 1




                                                                                          "
                                                                                                 5' 8"




                                                                                             "
                                                               1' 3"          5'                 5' 7"




                                                                                                         11' 10"
                                                                                                                   12'
                                                      20' 3"
                                                                19' 9"
                                                                             Entry/Foyer                               3' 4"
                                                                                                                             3'




                                                                                                         6' 10"



                                                                                                                                  6' 6"
                                                                                                                                          7' 2"
                                                                                                             Hallway




                                                                                                         1' 1"
                                                                                                                   1' 1"
                                                                                        12'




                                                                                                                   22' 11"
                                                                                                         22' 5"
                                                                             Living Room




                                                                                      12' 8"




                                                                                                                                                              Interior
       SANCHEZ&CASTILLO                                                                                                                           6/29/2020     Page: 49
50

     Roof                Case 1:21-cv-20059-BB Document 1 Entered on FLSD Docket 01/06/2021 Page 113 of 113




                                                                        26'




                                                                                                                     25' 10"
                                                                                                                     24' 6"
                                                                       F1 (A)




                                                49'               Roof1




                                                                                                  19' 6"




                                                                                                                     25' 10"
                                                              F2 (B)




                                                                                                                      24' 6"
                                                                                         16' 5"


                                                                                                            8'
                                                                                F3Roof2
                                                                                  (A)   (1)
                                                                                        F4 (B)                  9"

                                                        14'
                                                                                                           8'
                                                                                                            9"




                                                                                        F5 (C)                       4'

                                                                                6' 4"                       6' 4"
                                                                                 6'      12'                 6'




                                                                                                                                           Roof
      SANCHEZ&CASTILLO                                                                                                         6/29/2020   Page: 50
